                                             Case 19-12644-KBO                                   Doc 3              Filed 12/09/19                        Page 1 of 44

 Fill in this information to identify the case:

              Arik Air International USA
 Debtor name ____________________________    LLC
                                          _____ _____ _____ ______ _____ _____ _____ _


                                                                               Delaware
 United States Bankruptcy Court f or the: _______________________ District of ________
                                                                                                                 (State)
 Case number (If known):               19- 12644
                                      _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:
           Copy line 88 from Schedule A/B.....................................................................................................................................
                                                                                                                                                                                                   0.00
                                                                                                                                                                                                $ ________________


     1b.   Total personal property:
                                                                                                                                                                                                  0.00
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                                  0.00
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B.....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................                                                    0.00
                                                                                                                                                                                                $ ________________


3.   Schedule E/F: Creditors Who Have Unsecured Claims(Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................                                    0.00
                                                                                                                                                                                                $ ________________


     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................                                        +     68,587.56
                                                                                                                                                                                                $ ________________




4.   Total liabilities...................................................................................................................................................................
                                                                                                                                                                                                  68,587.56
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
                                  Case 19-12644-KBO               Doc 3          Filed 12/09/19           Page 2 of 44
  Fill in this information to identify the case:

              Arik Air International USA LLC
  Debtor name __________________________________________________________________

                                                                             Delaware
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                             (State)
  Case number (If known):     19-
                              _________________________                                                                               Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

   X
         No. Go to Part 2.
         Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                   $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                  Last 4 digits of account number
   3.1. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________
   3.2. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1                                                                                                                 0.00
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?
   X
         No. Go to Part 3.
         Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
   7.1. ________________________________________________________________________________________________________                   $______________________
   7.2._________________________________________________________________________________________________________                   $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                    page 1
                                 Case 19-12644-KBO                  Doc 3        Filed 12/09/19              Page 3 of 44
Debtor         Arik Air International USA LLC
               _______________________________________________________                                                19-
                                                                                                Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

    
    ✔ No. Go to Part 4.
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........ Î                $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........ Î                $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
    X No. Go to Part 5.
    
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________    $_______________________
   16.2.________________________________________________________________________________                ______________________    $_______________________




17. Total of Part 4
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                   page 2
                               Case 19-12644-KBO                     Doc 3      Filed 12/09/19         Page 4 of 44
Debtor          Arik Air International USA LLC
                _______________________________________________________                                            19-
                                                                                             Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    X No. Go to Part 6.
    
     Yes. Fill in the information below.
     General description                            Date of the last         Net book value of     Valuation method used        Current value of
                                                    physical inventory       debtor's interest     for current value            debtor’s interest
                                                                             (Where available)
19. Raw materials
   ________________________________________         ______________                                                             $______________________
                                                    MM / DD / YYYY
                                                                             $__________________   ______________________

20. Work in progress
   ________________________________________         ______________                                                             $______________________
                                                    MM / DD / YYYY
                                                                             $__________________   ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                             $______________________
                                                    MM / DD / YYYY
                                                                             $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                             $______________________
                                                    MM / DD / YYYY
                                                                             $__________________   ______________________


23. Total of Part 5                                                                                                            $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
          No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

          No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
          No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    
    X No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                    Net book value of     Valuation method used        Current value of debtor’s
                                                                             debtor's interest     for current value            interest
                                                                             (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________             $________________     ____________________       $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________             $________________     ____________________       $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

   ______________________________________________________________             $________________     ____________________       $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________             $________________     ____________________       $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________             $________________     ____________________       $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                                  page 3
                                 Case 19-12644-KBO                  Doc 3        Filed 12/09/19         Page 5 of 44
Debtor          Arik Air International USA LLC
                _______________________________________________________                                              19-
                                                                                              Case number (if known)_____________________________________
                Name




33. Total of Part 6.
                                                                                                                                $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:      Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

          <HV)LOOLQWKHLQIRUPDWLRQEHORZ

    
    ✔ 1R*RWRSDUW.


   General description                                                        Net book value of     Valuation method             Current value of debtor’s
                                                                              debtor's interest     used for current value       interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________     ____________________       $______________________

40. Office fixtures

   ______________________________________________________________              $________________     ____________________       $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB___________              $________________     ____________________       $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________      ____________________      $______________________
   42.2___________________________________________________________             $________________      ____________________      $______________________
   42.3___________________________________________________________             $________________      ____________________      $______________________

43. Total of Part 7.
                                                                                                                                $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 4
                               Case 19-12644-KBO                  Doc 3          Filed 12/09/19      Page 6 of 44
 Debtor         Arik Air International USA LLC
                _______________________________________________________                                          19-
                                                                                           Case number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

    
    ✔ No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                     Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________      ____________________       $______________________

   47.2___________________________________________________________          $________________      ____________________       $______________________

   47.3___________________________________________________________          $________________      ____________________       $______________________

   47.4___________________________________________________________          $________________      ____________________       $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________       ____________________       $______________________

   48.2__________________________________________________________          $________________       ____________________       $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________       ____________________       $______________________

   49.2__________________________________________________________          $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________       ____________________       $______________________


51. Total of Part 8.
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                page 5
                                Case 19-12644-KBO                     Doc 3        Filed 12/09/19          Page 7 of 44
Debtor          Arik Air International USA LLC
                _______________________________________________________                                                 19-
                                                                                                 Case number (if known)_____________________________________
                Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
    X No. Go to Part 10.
    
     Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
    55.1________________________________________            _________________     $_______________      ____________________        $_____________________

    55.2________________________________________            _________________     $_______________      ____________________        $_____________________

    55.3________________________________________            _________________     $_______________      ____________________        $_____________________

    55.4________________________________________            _________________     $_______________      ____________________        $_____________________

    55.5________________________________________            _________________     $_______________      ____________________        $_____________________

    55.6________________________________________            _________________     $_______________      ____________________        $_____________________


56. Total of Part 9.
                                                                                                                                      0.00
                                                                                                                                    $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         No
         Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
    X No. Go to Part 11.
    
     Yes. Fill in the information below.
   General description                                                           Net book value of     Valuation method             Current value of
                                                                                  debtor's interest     used for current value       debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
    ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.
                                                                                                                                       0.00
                                                                                                                                     $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 6
                                   Case 19-12644-KBO               Doc 3       Filed 12/09/19               Page 8 of 44
Debtor          Arik Air International USA LLC
                _______________________________________________________                                                19-
                                                                                                Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    X
        No
        Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    X
        No
        Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    X
        No
        Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
    
    ✔     No. Go to Part 12.
         Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                     debtor’s interest
71. Notes receivable
    Description (include name of obligor)

    ______________________________________________________
                                                                    _______________     –   __________________________         =Î   $_____________________
                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                  $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                  $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                  $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                   $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                     $_____________________
   ____________________________________________________________                                                                     $_____________________

78. Total of Part 11.
                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
        No
        Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                   page 7
                                       Case 19-12644-KBO                              Doc 3            Filed 12/09/19                    Page 9 of 44
Debtor            Arik Air International USA LLC
                  _______________________________________________________                                                                       19-
                                                                                                                          Case number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                           Current value
                                                                                                      personal property                          of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                   $_______________


81. Deposits and prepayments. Copy line 9, Part 2.                                                       $_______________


82. Accounts receivable. Copy line 12, Part 3.                                                           $_______________


83. Investments. Copy line 17, Part 4.                                                                   $_______________


84. Inventory. Copy line 23, Part 5.                                                                     $_______________


85. Farming and fishing-related assets. Copy line 33, Part 6.                                            $_______________

86. Office furniture, fixtures, and equipment; and collectibles.
                                                                                                         $_______________
     Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $_______________


88. Real property. Copy line 56, Part 9. . ..................................................................................... Î                 0.00
                                                                                                                                                 $________________


89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $_______________


90. All other assets. Copy line 78, Part 11.                                                        +      0.00
                                                                                                         $_______________


91. Total. Add lines 80 through 90 for each column. ............................ 91a.                    $                       +    91b.
                                                                                                                                                  0.00
                                                                                                                                                 $________________




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................      $




Official Form 206A/B                                                       Schedule A/B: Assets  Real and Personal Property                                                     page 8
                                      Case 19-12644-KBO                      Doc 3           Filed 12/09/19            Page 10 of 44
  Fill in this information to identify the case:

              Arik Air International USA LLC
  Debtor name __________________________________________________________________
                                                                             Delaware
  United States Bankruptcy Court for the: ______________________ District of _________
                                                                                        (State)

  Case number (If known):      19-
                               _________________________
                                                                                                                                                      Check if this is an
                                                                                                                                                         amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
    X No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
    
     Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________
                                                                ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________

     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                           Contingent
     Yes. Specify each creditor, including this creditor,         Unliquidated
             and its relative priority.                            Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________                 ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________
     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
             priority?                                             Disputed
            No. Specify each creditor, including this
                  creditor, and its relative priority.
                  _________________________________
                  _________________________________
            Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                 $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of ___
                                      Case 19-12644-KBO                      Doc 3         Filed 12/09/19              Page 11 of 44
  Debtor            Arik Air International USA LLC
                   _______________________________________________________                                                          19-
                                                                                                             Case number (if known)_____________________________________
                   Name



                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

     __________________________________________                 ___________________________________________________
                                                                                                                                $__________________     $_________________
                                                                ___________________________________________________
    Creditor’s mailing address
                                                                ___________________________________________________
     ________________________________________________________

     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes


    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien


     __________________________________________
                                                                ___________________________________________________
                                                                                                                                $__________________     $_________________
    Creditor’s mailing address                                  ___________________________________________________

                                                                ___________________________________________________
     ________________________________________________________

     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___ of ___
                                    Case 19-12644-KBO                            Doc 3           Filed 12/09/19                   Page 12 of 44
Debtor           Arik Air International USA LLC
                 _______________________________________________________                                                                       19-
                                                                                                                         Case number (if known)_____________________________________
                 Name



Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                                     On which line in Part 1     Last 4 digits of
         Name and address
                                                                                                                                     did you enter the           account number
                                                                                                                                     related creditor?           for this entity
    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________


Form 206D                                Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                               page ___ of ___
Case 19-12644-KBO   Doc 3   Filed 12/09/19   Page 13 of 44
Case 19-12644-KBO   Doc 3   Filed 12/09/19   Page 14 of 44
Case 19-12644-KBO   Doc 3   Filed 12/09/19   Page 15 of 44
             Case 19-12644-KBO    Doc 3   Filed 12/09/19   Page 16 of 44




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               Case 19-12644-KBO          Doc 3     Filed 12/09/19   Page 17 of 44




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                Case 19-12644-KBO          Doc 3   Filed 12/09/19   Page 18 of 44




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Case 19-12644-KBO   Doc 3   Filed 12/09/19   Page 19 of 44
Case 19-12644-KBO   Doc 3   Filed 12/09/19   Page 20 of 44
                                    Case 19-12644-KBO           Doc 3       Filed 12/09/19             Page 21 of 44
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                                Case 19-12644-KBO                   Doc 3        Filed 12/09/19            Page 22 of 44

 Fill in this information to identify the case:

              Arik Air International USA LLC
 Debtor name __________________________________________________________________

 United States Bankruptcy Court for the:______________________ District of     Delaware
                                                                               _______
                                                                              (State)
 Case number (If known):    19-
                            _________________________                          7
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
       X
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or       ____________________________________             _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of ___
                               Case 19-12644-KBO            Doc 3        Filed 12/09/19        Page 23 of 44

Debtor         Arik Air International USA LLC
               _______________________________________________________                                      19-
                                                                                      Case number (if known)_____________________________________
               Name




          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired lease


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



 Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                                    page ___ of ___
                                Case 19-12644-KBO                    Doc 3        Filed 12/09/19            Page 24 of 44
 Fill in this information to identify the case:

              Arik Air International USA LLC
 Debtor name __________________________________________________________________

                                                                            Delaware
 United States Bankruptcy Court for the:_______________________ District of ________
                                                                                (State)
 Case number (If known):    19-
                            _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       X
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

 2.1     _____________________        ________________________________________________________             _____________________              D                   
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code

                                                                                                                                                                   
 2.2
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.3
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.4
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.5
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.6
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                         page 1 of ___
                              Case 19-12644-KBO              Doc 3       Filed 12/09/19        Page 25 of 44
Debtor          Arik Air International USA LLC
               _______________________________________________________                                       19-
                                                                                      Case number (if known)_____________________________________
               Name




            Additional Page if Debtor Has More Codebtors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                  Mailing address                                            Name
                                                                                                                             that apply:
                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code
                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code




 Official Form 206H                                    Schedule H: Codebtors                                                     page ___ of ___
Case 19-12644-KBO   Doc 3   Filed 12/09/19   Page 26 of 44
                               Case 19-12644-KBO                     Doc 3         Filed 12/09/19          Page 27 of 44


Fill in this information to identify the case:

             Arik Air International USA LLC
Debtor name __________________________________________________________________

                                                                            Delaware
United States Bankruptcy Court for the: ______________________ District of _________
                                                                              (State)
Case number (If known):   19-
                          _________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
            may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                           X
                                                                                                  Operating a business
           fiscal year to filing date:          01/01/2018 to
                                           From ___________                Filing date            Other _______________________
                                                                                                                                     0.00
                                                                                                                                    $________________
                                                  MM / DD / YYYY


           For prior year:                      01/01/2017
                                           From ___________         to     12/31/2017
                                                                           ___________         X
                                                                                                  Operating a business
                                                                                                                                     1,000,000.00
                                                                                                                                    $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________

           For the year before that:            01/01/2016
                                           From ___________         to     12/31/2016
                                                                           ___________         X
                                                                                                  Operating a business
                                                                                                                                     18,929,913.00
                                                                                                                                    $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________




 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     X
        None

                                                                                              Description of sources of revenue    Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the
                                                                                              ___________________________          $________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1
                                 Case 19-12644-KBO                  Doc 3      Filed 12/09/19            Page 28 of 44

Debtor              Arik  Air International USA LLC
                    _______________________________________________________                                           19-
                                                                                               Case number (if known)_____________________________________
                    Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
    adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                         Dates        Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
             Storage  Post
             __________________________________________         ________        816.00
                                                                               $_________________                Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             640  Rockaway Tpke
             __________________________________________
             Street                                             ________                                         Suppliers or vendors
             __________________________________________                                                     X
                                                                                                                 Services
             Lawrence                 NY       11559
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________
              
     3.2.

             Manhattan    Mini Storage
             __________________________________________         ________        384.00
                                                                               $_________________                Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             401 East 110th Street
             __________________________________________
             Street                                             ________                                         Suppliers or vendors
             __________________________________________                                                     X
                                                                                                                 Services
             New York                 NY       10029
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

     X
           None

             Insider’s name and address                          Dates        Total amount or value         Reasons for payment or transfer
     4.1.

             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code


             Relationship to debtor
             __________________________________________


     4.2.

             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code



             Relationship to debtor

             __________________________________________



Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 2
                                 Case 19-12644-KBO                     Doc 3         Filed 12/09/19                 Page 29 of 44

Debtor              Arik Air International USA LLC
                    _______________________________________________________                                                       19-
                                                                                                           Case number (if known)_____________________________________
                    Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     X
           None
            Creditor’s name and address                             Description of the property                                    Date               Value of property
     5.1.

            __________________________________________              ___________________________________________                    ______________     $___________
            Creditor’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________              ___________________________________________
            __________________________________________
            City                          State       ZIP Code

     5.2.

            __________________________________________              ___________________________________________                    _______________      $___________
            Creditor’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________              ___________________________________________
            __________________________________________
            City                          State       ZIP Code


 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     X
           None
             Creditor’s name and address                              Description of the action creditor took                      Date action was       Amount
                                                                                                                                   taken

             __________________________________________             ___________________________________________                  _______________      $___________
             Creditor’s name
             __________________________________________             ___________________________________________
             Street
             __________________________________________
             __________________________________________             Last 4 digits of account number: XXXX– __ __ __ __
             City                          State       ZIP Code


  Part 3:          Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

     X
           None
             Case title                                   Nature of case                           Court or agency’s name and address                  Status of case

     7.1.
             _________________________________            ______________________________          __________________________________________              Pending
                                                                                                  Name
                                                                                                                                                          On appeal
                                                                                                  __________________________________________
             Case number                                                                          Street                                                  Concluded
                                                                                                  __________________________________________
             _________________________________                                                    __________________________________________
                                                                                                  City                   State             ZIP Code
              

             Case title                                                                             Court or agency’s name and address
                                                                                                                                                          Pending
     7.2.
             _________________________________            ______________________________          __________________________________________              On appeal
                                                                                                  Name
                                                                                                  __________________________________________
                                                                                                                                                          Concluded
             Case number
                                                                                                  Street
                                                                                                  __________________________________________
             _________________________________
                                                                                                  __________________________________________
                                                                                                  City                           State     ZIP Code


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 3
                                  Case 19-12644-KBO                    Doc 3         Filed 12/09/19              Page 30 of 44

Debtor               Arik Air International USA LLC
                     _______________________________________________________                                                 19-
                                                                                                       Case number (if known)_____________________________________
                     Name




 8. Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     
     X      None
              Custodian’s name and address                          Description of the property                        Value

             __________________________________________             ______________________________________             $_____________
             Custodian’s name
                                                                    Case title                                         Court name and address
             __________________________________________
             Street
                                                                   ______________________________________            __________________________________________
             __________________________________________                                                              Name
             __________________________________________             Case number                                      __________________________________________
             City                          State       ZIP Code                                                      Street
                                                                   ______________________________________            __________________________________________
                                                                    Date of order or assignment                      __________________________________________
                                                                                                                     City                 State               ZIP Code

                                                                   ______________________________________

 Part 4:           Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     X
           None
             Recipient’s name and address                           Description of the gifts or contributions                   Dates given           Value


            __________________________________________              ___________________________________________                 _________________   $__________
     9.1.
            Recipient’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code


              Recipient’s relationship to debtor
              __________________________________________


            __________________________________________              ___________________________________________                 _________________   $__________
     9.2. Recipient’s name

            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code

              Recipient’s relationship to debtor
              __________________________________________


 Part 5:           Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     X
           None
             Description of the property lost and how the loss      Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                               If you have received payments to cover the loss, for                            lost
                                                                    example, from insurance, government compensation, or
                                                                    tort liability, list the total received.
                                                                    List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                    Assets – Real and Personal Property).


             ___________________________________________            ___________________________________________                 _________________   $__________
             ___________________________________________


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 4
                                Case 19-12644-KBO                Doc 3         Filed 12/09/19              Page 31 of 44

Debtor             Arik Air International USA LLC
                   _______________________________________________________                                               19-
                                                                                                  Case number (if known)_____________________________________
                   Name




 Part 6:       Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

     X
          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates               Total amount or
                                                                                                                                             value

            __________________________________________
   11.1.                                                      ___________________________________________
                                                                                                                         ______________      $_________
            Address
                                                              ___________________________________________
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State      ZIP Code


            Email or website address
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates               Total amount or
                                                                                                                                             value


   11.2.    __________________________________________        ___________________________________________
                                                                                                                         ______________      $_________
            Address                                           ___________________________________________
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State      ZIP Code

            Email or website address
            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________


 12. Self-settled trusts of which the debtor is a beneficiary

     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     X
          None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________        ___________________________________________                 ______________      $_________

            Trustee                                           ___________________________________________
            __________________________________________




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 5
                                Case 19-12644-KBO                    Doc 3       Filed 12/09/19             Page 32 of 44

Debtor             Arik Air International USA LLC
                   _______________________________________________________                                              19-
                                                                                                  Case number (if known)_____________________________________
                   Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

     X
          None

            Who received transfer?                               Description of property transferred or payments received   Date transfer      Total amount or
                                                                 or debts paid in exchange                                  was made           value



   13.1.    __________________________________________           ___________________________________________                ________________    $_________

                                                                 ___________________________________________
            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________




            Who received transfer?
                                                                 ___________________________________________                ________________    $_________

   13.2.    __________________________________________           ___________________________________________

            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________



 Part 7:       Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply
            Address                                                                                              Dates of occupancy


   14.1.    100 Park Avenue, Suite 1651
            _______________________________________________________________________                              From       2014
                                                                                                                            ____________       To   2014
                                                                                                                                                    ____________
            Street
            _______________________________________________________________________
            New York                                   NY          10017
            _______________________________________________________________________
            City                                             State         ZIP Code


   14.2.    One Penn Plaza
            _______________________________________________________________________                              From       Jan. 2010
                                                                                                                            ____________       To   2013
                                                                                                                                                    ____________
            Street
            _______________________________________________________________________
            New York                                  NY           10119
            _______________________________________________________________________
            City                                             State         ZIP Code


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 6
                                   Case 19-12644-KBO                 Doc 3         Filed 12/09/19               Page 33 of 44

Debtor             Arik Air International USA LLC
                   _______________________________________________________                                                 19-
                                                                                                     Case number (if known)_____________________________________
                   Name




 Part 8:           Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     X
          No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.1.    ________________________________________           ___________________________________________________________                 ____________________
            Facility name
                                                               ____________________________________________________________
            ________________________________________
            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
            ________________________________________
            City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                            Electronically
                                                                                                                                           Paper

            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.2.    ________________________________________           ___________________________________________________________                 ____________________
            Facility name
                                                               ___________________________________________________________
            ________________________________________
            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
            ________________________________________
            City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                            Electronically
                                                                                                                                           Paper

 Part 9:           Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     X
          No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                   Does the debtor have a privacy policy about that information?
                
                      No
                      Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                      No. Go to Part 10.
                   X
                      Yes. Fill in below:
                          Name of plan                                                                           Employer identification number of the plan
                          Arik Air USA 401K Plan
                          _______________________________________________________________________                       9 4         3 4    8    9 4      9 2
                                                                                                                 EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                       Has the plan been terminated?
                           No
                       X
                           Yes



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
                                Case 19-12644-KBO                  Doc 3         Filed 12/09/19              Page 34 of 44

Debtor             Arik Air International USA LLC
                   _______________________________________________________                                               19-
                                                                                                  Case number (if known)_____________________________________
                   Name




 Part 10:          Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     X
          None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
            Name
                                                                                            Savings
            ______________________________________
            Street                                                                          Money market
            ______________________________________
                                                                                            Brokerage
            ______________________________________
            City                  State       ZIP Code                                      Other______________

   18.2.     ______________________________________        XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
            Name
                                                                                            Savings
            ______________________________________
            Street                                                                          Money market
            ______________________________________
                                                                                            Brokerage
            ______________________________________
            City                  State       ZIP Code                                      Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     X
          None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________       __________________________________          __________________________________                 No
            Name
                                                          __________________________________          __________________________________
                                                                                                                                                         Yes
            ______________________________________
            Street                                        __________________________________          __________________________________             
            ______________________________________
            ______________________________________         Address
                                                                                                                                                     
            City                  State       ZIP Code
                                                          ____________________________________

                                                          ____________________________________

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

          None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             See attachment
             ______________________________________       __________________________________          __________________________________               Yes
            Name
            ______________________________________
                                                          __________________________________          __________________________________              
            Street                                        __________________________________          __________________________________
            ______________________________________
            ______________________________________          Address                                                                                   
            City                  State       ZIP Code
                                                           ________________________________

                                                           _________________________________



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 8
                              Case 19-12644-KBO                         Doc 3            Filed 12/09/19           Page 35 of 44

Debtor           Arik Air International USA LLC
                 _______________________________________________________                                                       19-
                                                                                                         Case number (if known)_____________________________________
                 Name




 Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     X
        None

          Owner’s name and address                              Location of the property                     Description of the property                 Value

                                                                                                                                                         $_______
          ______________________________________                __________________________________           __________________________________
          Name
                                                                __________________________________           __________________________________
          ______________________________________
          Street                                                __________________________________           __________________________________
          ______________________________________
          ______________________________________
          City                  State         ZIP Code




 Part 12:        Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     X
        No
        Yes. Provide details below.
          Case title                                     Court or agency name and address                    Nature of the case                       Status of case

          _________________________________
                                                         _____________________________________               __________________________________         Pending
          Case number                                    Name
                                                                                                             __________________________________
                                                                                                                                                        On appeal

          _________________________________
                                                         _____________________________________
                                                         Street
                                                                                                                                                        Concluded
                                                                                                             __________________________________
                                                         _____________________________________                                                       
                                                         _____________________________________
                                                         City                    State        ZIP Code




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     X
        No
        Yes. Provide details below.

         Site name and address                           Governmental unit name and address                  Environmental law, if known            Date of notice


          __________________________________             _____________________________________               __________________________________       __________
          Name                                           Name
                                                                                                             __________________________________
          __________________________________             _____________________________________
          Street                                         Street                                              __________________________________
          __________________________________             _____________________________________
          __________________________________             _____________________________________
          City                  State    ZIP Code        City                   State        ZIP Code




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 9
                                Case 19-12644-KBO                  Doc 3           Filed 12/09/19           Page 36 of 44

Debtor             Arik Air International USA Inc.
                   _______________________________________________________                                                19-
                                                                                                   Case number (if known)_____________________________________
                   Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     X
          No
          Yes. Provide details below.

           Site name and address                      Governmental unit name and address               Environmental law, if known                Date of notice


            __________________________________        ______________________________________           __________________________________           __________
            Name                                      Name
                                                                                                       __________________________________
            __________________________________        ______________________________________
            Street                                    Street                                           __________________________________
            __________________________________        ______________________________________
            __________________________________        ______________________________________
            City                  State    ZIP Code   City                 State        ZIP Code




 Part 13:            Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     X
          None


            Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                                Do not include Social Security number or ITIN.

                                                                                                                EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
   25.1.    __________________________________         _____________________________________________
            Name                                                                                                Dates business existed
                                                       _____________________________________________
            __________________________________
            Street                                     _____________________________________________
            __________________________________                                                                  From _______         To _______
            __________________________________
            City                  State    ZIP Code




            Business name and address                  Describe the nature of the business                      Employer Identification number
   25.2.                                                                                                        Do not include Social Security number or ITIN.

            __________________________________         _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Name
                                                                                                                Dates business existed
                                                       _____________________________________________
            __________________________________
            Street                                     _____________________________________________
            __________________________________                                                                  From _______         To _______
            __________________________________
            City                  State    ZIP Code



            Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                                Do not include Social Security number or ITIN.

   25.3.    __________________________________         _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Name
                                                       _____________________________________________            Dates business existed
            __________________________________
            Street                                     _____________________________________________
            __________________________________
            __________________________________
                                                                                                                From _______         To _______
            City                  State    ZIP Code




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 10
                                 Case 19-12644-KBO                  Doc 3        Filed 12/09/19             Page 37 of 44

Debtor            Arik Air International USA LLC
                  _______________________________________________________                                                19-
                                                                                                   Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                  Dates of service


   26a.1.     Novman Ali Nouman Ali                                                                                  Jan. 2010 To _______
                                                                                                                From _______      Feb. 2017
              __________________________________________________________________________________
              Name
              20700 Anza Ave., Apt. 22
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
              Torrance                                      CA                  90503
              __________________________________________________________________________________
              City                                                State                 ZIP Code


              Name and address                                                                                  Dates of service

                                                                                                                From _______       To _______
   26a.2.     __________________________________________________________________________________
              Name
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
              __________________________________________________________________________________
              City                                                State                 ZIP Code



     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            X
                 None

                     Name and address                                                                           Dates of service

                                                                                                                From _______       To _______
         26b.1.      ______________________________________________________________________________
                     Name
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code


                     Name and address                                                                           Dates of service

                                                                                                                From _______       To _______
         26b.2.      ______________________________________________________________________________
                     Name
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                                                                                                                If any books of account and records are
                     Name and address
                                                                                                                unavailable, explain why


         26c.1.      BDO
                     ______________________________________________________________________________             All accounts held by International
                                                                                                                _________________________________________
                     Name
                                                                                                                Headquarters in London which is
                     100 Park Avenue
                     ______________________________________________________________________________
                                                                                                                _________________________________________
                     Street                                                                                     closed.
                                                                                                                _________________________________________
                     ______________________________________________________________________________
                     New York                                      NY                  10017
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 11
                                   Case 19-12644-KBO                  Doc 3      Filed 12/09/19                 Page 38 of 44

Debtor               Arik Air International USA LLC
                     _______________________________________________________                                               19-
                                                                                                    Case number (if known)_____________________________________
                     Name




                       Name and address                                                                           If any books of account and records are
                                                                                                                  unavailable, explain why


           26c.2.      ______________________________________________________________________________             _________________________________________
                       Name
                                                                                                                  _________________________________________
                       ______________________________________________________________________________
                       Street                                                                                     _________________________________________
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code



     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              X
                    None

                       Name and address


           26d.1.      ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code


                       Name and address


           26d.2.      ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code




 27. Inventories

     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
           No
  X
          Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                        Date of        The dollar amount and basis (cost, market, or
                                                                                                    inventory      other basis) of each inventory


              Nigel Hamilton / Robert Brunner
              ______________________________________________________________________               Jan. 2017
                                                                                                   _______        $___________________

               Name and address of the person who has possession of inventory records


   27.1.       Robert Brunner
               ______________________________________________________________________
              Name
              P.O. Box 91
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              West Dover                                         VT          05356
              ______________________________________________________________________
              City                                                     State        ZIP Code




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 12
                                  Case 19-12644-KBO                Doc 3       Filed 12/09/19             Page 39 of 44

Debtor             Arik Air International USA LLC
                   _______________________________________________________                                           19-
                                                                                               Case number (if known)_____________________________________
                   Name




            Name of the person who supervised the taking of the inventory                     Date of           The dollar amount and basis (cost, market, or
                                                                                              inventory         other basis) of each inventory

            ______________________________________________________________________            _______       $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name
            ______________________________________________________________________
            Street
            ______________________________________________________________________
            ______________________________________________________________________
            City                                                    State         ZIP Code


 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

            Name                                Address                                              Position and nature of any             % of interest, if any
                                                                                                     interest
            Robert  Brunner
            ____________________________        P.O. Box 91, West Dover, VT 05356
                                                _____________________________________________        CEO, Secretary
                                                                                                     ____________________________            0.00
                                                                                                                                             _______________

            William Clark
            ____________________________       Unknown
                                               _____________________________________________         CFO
                                                                                                     ____________________________            0.00
                                                                                                                                             _______________

            ____________________________        _____________________________________________        ____________________________            _______________

            ____________________________        _____________________________________________        ____________________________            _______________

            ____________________________        _____________________________________________        ____________________________            _______________

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
  X
        No
         Yes. Identify below.

            Name                                Address                                               Position and nature of          Period during which
                                                                                                      any interest                    position or interest was
                                                                                                                                      held
            ____________________________        _____________________________________________         ______________________         From _____ To _____

            ____________________________        _____________________________________________         ______________________         From _____ To _____

            ____________________________        _____________________________________________         ______________________         From _____ To _____

            ____________________________        _____________________________________________         ______________________         From _____ To _____

 30. Payments, distributions, or withdrawals credited or given to insiders

     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
  X
          No
         Yes. Identify below.

            Name and address of recipient                                            Amount of money or                   Dates              Reason for
                                                                                     description and value of                                providing the value
                                                                                     property


   30.1.    ______________________________________________________________            _________________________           _____________       ____________
            Name
            ______________________________________________________________
            Street                                                                                                       _____________
            ______________________________________________________________
            ______________________________________________________________                                               _____________
            City                                     State          ZIP Code

            Relationship to debtor                                                                                       _____________

            ______________________________________________________________                                               _____________

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 13
                                    Case 19-12644-KBO                   Doc 3       Filed 12/09/19           Page 40 of 44

Debtor               Arik Air International USA LLC
                     _______________________________________________________                                              19-
                                                                                                    Case number (if known)_____________________________________
                     Name




              Name and address of recipient
                                                                                            __________________________     _____________       ______________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________
              ______________________________________________________________
              Street                                                                                                       _____________
              ______________________________________________________________
              ______________________________________________________________                                               _____________
              City                                            State      ZIP Code


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     X
            No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     X
            No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 Part 14:              Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       12/09/2019
                               _________________
                                MM / DD / YYYY



         8      V5REHUW%UXQQHU
              ___________________________________________________________                               5REHUW%UXQQHU
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor


                                                   $XWKRUL]HG6LJQDWRU\
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         X
             Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 14
                         Case 19-12644-KBO      Doc 3     Filed 12/09/19     Page 41 of 44



                                     Form 207 – Statement of Financial Affairs
                                         7. Legal Actions or Assignments

                                                Continuation Sheet

Case Title             Case Number       Nature of Case                  Court name                          Status of Case
Radisson Hotel         153522/2017       Non-Payment of Hotel Bills      Supreme Court of New York County    Concluded

Commissioners of the   55580/2018        Failure to Pay Insurance        Supreme Court of West Chester County Concluded
State Insurance Fund
                              Case 19-12644-KBO          Doc 3     Filed 12/09/19     Page 42 of 44



                                              Form 207 – Statement of Financial Affairs
                                                     20. Off-premises Storage

                                                         Continuation Sheet

Facility Name and Address   Names and Address of anyone with access to it         Description of the contents    Does Debtor still have it

Manhattan Mini Storage      Robert Brunner                                        City Office Files and Equip.   Yes
401 E. 110th Street
New York, NY 10029

Storage Post                Robert Brunner                                        Auto Parts; Airport Office
640 Rockaway Turnpike                                                             Files and Equipment            Yes
Lawrence, NY 11559
                 Case 19-12644-KBO              Doc 3      Filed 12/09/19         Page 43 of 44




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                      )
In re:                                                       Chapter 7
                                                      )
ARIK AIR INTERNATIONAL USA                            )      Case No. 19-_______(__)
     1                                                )
LLC,
                                                      )
                           Debtor.                    )
                                                      )

           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

                  1.       Pursuant to 11 U.S.C. § 329(a) and Federal Rule of Bankruptcy Procedure

2016(b), I certify that my firm, Womble Bond Dickinson (US) LLP (“WBD”) is counsel for the

above-named debtor and that compensation paid to WBD within one year before the filing of the

petition in bankruptcy, or agreed to be paid to WBD for services rendered or to be rendered on

behalf of the debtor (the “Debtor”) in contemplation of or in connection with the bankruptcy case

is as follows:

                           a.       In connection with prepetition legal services and the bankruptcy
                                    filing, WBD received $25,000; and
                           b.       There is no remaining balance due to WBD.
                  2.       The source of the compensation paid to WBD was Arik Air Limited, an

affiliate of the Debtor.

                  3.       WBD has not agreed to share the above-disclosed compensation with any

other person unless they are a partner or associate of WBD.

                  4.       In return for the above-disclosed fee, WBD has agreed to render legal

services relating to the bankruptcy case, including:

                           a.       Analysis of the Debtor’s financial situation, and rendering advice

1
         The last four digits of the Debtor’s federal tax identification number are 9492. The address for the Debtor
         is c/o Robert Brunner, P.O. Box 91, West Dover, Vermont 05356.
              Case 19-12644-KBO         Doc 3    Filed 12/09/19     Page 44 of 44



                              to the Debtor concerning filing a petition in bankruptcy;
                      b.      Filing of any petition, schedules and statements of affairs which
                              may be required; and
                      c.      Representation of the Debtor at the meeting of creditors, and any
                              adjourned hearings thereof.

               5.     By agreement with the Debtor, the above-disclosed fee does not include

the representation of the Debtor in adversary proceedings and other contested bankruptcy

matters; nor does it include any future non-bankruptcy representation.

                                      CERTIFICATION

               6.     I certify that the foregoing is a complete statement of any agreement or

arrangement for payment to WBD for representation of the Debtor in this bankruptcy

proceeding.

Dated: December 9, 2019                      WOMBLE BOND DICKINSON (US) LLP

                                             Morgan L. Patterson
                                             Matthew P. Ward (Bar No. 4471)
                                             Morgan L. Patterson (Bar No. 5388)
                                             1313 North Market Street, Suite 1200
                                             Wilmington, Delaware 19801
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                                             Counsel for Arik Air International USA LLC




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WBD (US) 45599831v1
